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                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF LOUISIANA

EARL PETERS, IDDO BLACKWELL,        *     CIVIL ACTION
KEVIN MATHIEU, LAVELLE              *
MEYERS, DAN RILEY, RUSSELL          *
WARE                                *     NUMBER: 3:16-cv-00842-SDD-RLB
                                    *
VERSUS                              *
                                    *     JUDGE SHELLY D. DICK
RAMAN SINGH, JOHN BEL               *
EDWARDS, JAMES M. LEBLANC,          *
STEPHANIE LAMARTINIERE,             *     MAGISTRATE
DARRYL VANNOY, STATE OF             *     RICHARD L. BOURGEOIS
LOUISIANA, LOUISIANA                *
DEPARTMENT OF PUBLIC SAFETY *
AND CORRECTIONS                     *
******************************************************************************

                          STATEMENT OF UNDISPUTED FACTS

1.    At all times pertinent herein, Ross McCaa was an inmate sentenced to the custody of the

      Louisiana Department of Public Safety and Corrections and was confined to the Louisiana

      State Penitentiary in Angola.

2.    Plaintiff first complained of blurry vision, which was reportedly worse with seeing at a

      distance on February 1, 2011, during his annual physical exam. He was to be referred to the

      Ophathalmology Department.1

3.    Throughout 2012, plaintiff was seen several times by LSU and an outside physician for a

      chronic skin conditions.

4.    On November 5, 2012, plaintiff was seen at the Angola Eye Clinic. A cataract in the right eye




      1
           Exhibit A, Affidavit of Dr. Randy Lavespere, Exhibit A-1, Medical Records, Bates
#017121;

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       was noted to be greater than in the left eye, with a trace cataract noted in the left eye.2 His

       visual acuity was 20/25 in both eyes.3

5.     Plaintiff received state issued eye glasses on December 1, 2013.4

6.     On December 11, 2013, Plaintiff refused his appointment at the Eye Clinic.5

7.     Plaintiff was seen on April 30, 2014 at the Angola Eye Clinic. He was noted to have a

       cataract in the right eye, however, the cataract was not visually significant.6

8.     Plaintiff was seen on September 29, 2014, at the Angola Eye Clinic. It was noted that

       Plaintiff had a trace cataract in the left eye and a dense, cortical cataract in the right eye.

       Plaintiff’s best corrected visual acuity was noted to be 20/30 in the right and 20/20 in the left

       eye.7

9.     Plaintiff was seen numerous times by Angola physicians in 2015, and had no complaints

       concerning his cataracts.

10.    On October 19, 2016, Plaintiff was seen at the Angola Eye Clinic due to cataract and


       2
       Exhibit A, Affidavit of Dr. Randy Lavespere, Exhibit A-1, Medical Records, Bates
#017437;
       3
       Exhibit A, Affidavit of Dr. Randy Lavespere, Exhibit A-1, Medical Records, Bates
#021580;
       4
       Exhibit A, Affidavit of Dr. Randy Lavespere, Exhibit A-1, Medical Records, Bates
#021578;
       5
       Exhibit A, Affidavit of Dr. Randy Lavespere, Exhibit A-1, Medical Records, Bates
#017091;
       6
       Exhibit A, Affidavit of Dr. Randy Lavespere, Exhibit A-1, Medical Records, Bates
#017441;
       7
           Exhibit A, Affidavit of Dr. Randy Lavespere, Exhibit A-1, Medical Records, Bates
#017433;

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       hypertension. Plaintiff’s visual acuity was noted to be 20/20 in both eyes. There was a trace

       cataract in the left eye and a dense, cortical cataract in the right eye. Plaintiff was also noted

       to have arcus senilis in both eyes.8

11.    Plaintiff was given a glasses prescription on December 14, 2016.9

12.    Plaintiff underwent a repair on his hernia in 2017, and had no other complaints of his

       cataracts.

13.    On October 1, 2017, Plaintiff was given a new prescription for eye glasses.10 On October 4,

       2017, Plaintiff was seen at the Angola Eye Clinic and was noted to have early Ancus as well

       as cataracts, greater in the right eye than in the left eye.11 His visual acuity was noted to be

       20/40 in both eyes.12

14.    To date, there has been no referral for surgical evaluation, as a referral was not warranted.

15.    The DOC Cataract Referral Guidelines provide that an inmate should be referred to special

       care if there is symptomatic, slow, progressive, painless decrease in vision that affects

       activities of daily living.13


       8
       Exhibit A, Affidavit of Dr. Randy Lavespere, Exhibit A-1, Medical Records, Bates
#017429;
       9
       Exhibit A, Affidavit of Dr. Randy Lavespere, Exhibit A-1, Medical Records, Bates
#017427;
       10
            Exhibit A, Affidavit of Dr. Randy Lavespere, Exhibit A-1, Medical Records, Bates
#021579;
       11
            Exhibit A, Affidavit of Dr. Randy Lavespere, Exhibit A-1, Medical Records, Bates
#021580;
       12
            Id.
       13
            Exhibit C, Cataract Guidelines; Exhibit B, Deposition of Dr. Lavespere, p. 54-55.

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16.   The Guidelines also provide inmates will visual acuities of 20/40 or better may be followed

      by the Angola physicians, and not referred for surgery.14

17.   From 2011-2017, plaintiff Ross McCaa’s job assignments were TC grounds keeper, MP PM

      laundry, TC orderly and dorm orderly/janitor/cleaner.15

8.    At Angola, the TC grounds keeper is assigned to the treatment center as an outside orderly.

      The inmate’s duties incude cutting grass, weed eating, cleaning sidewalks, cleaning the

      building, and basically maintaining the outside appearance of an area.16

9.    At Angola, the job functions for MP PM laundry is assigned to Main Prison laundry at night.

      The inmates wash, dry and deliver laundry.17

10.   At Angola, the job functions for a janitorial/cleaning and TC dorm orderly include basic

      janitorial duties like sweeping, mopping, dusting, wiping walls and counters.18




      14
           Id.
      15
           Affidavit of Amber Vittorio.
      16
           Id.
      17
           Id.
      18
           Id.

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                                               Respectfully submitted,

                                               JEFF LANDRY
                                               Attorney General

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                                                       Facsimile: (225) 343-9612

                                 CERTIFICATE OF SERVICE

       I hereby certify that I have this date electronically filed the foregoing with the Clerk of
Court by utilizing the CM/ECF system, and a copy of the above and foregoing was this day
forwarded by the Court’s ECF Delivery System to all counsel of record.

       Baton Rouge, Louisiana, this 29th day of April, 2019.


                                        s/Andrew Blanchfield
                                        Andrew Blanchfield




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